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  Exhibit B-VIII
  Exoo-Reidiger Tweets

  Incorporated by reference in FASC at ¶¶ 10, 120, 121




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